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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS

BRICKLAYERS LOCAL #8 OF ILLINOIS AND )
EMPLOYERS PENSION PLAN, et al.,       )
                                      )
             Plaintiffs,              )                   Case No. 3:21-cv-00557 NJR
                                      )
v.                                    )
                                      )
MR. DAVID’S FLOORING INTERNATIONAL, )
LLC d/b/a MR. DAVID’S CARPET SERVICE, )
                                      )
             Defendant.               )

                     MOTION TO DISMISS WITHOUT PREJUDICE

       Come now plaintiffs, through counsel, and dismiss the above-styled matter without

prejudice.



                                                   Respectfully submitted,

                                                   HAMMOND AND SHINNERS, P.C.
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                                                          /s/ Greg A. Campbell
                                                   GREG A. CAMPBELL, #35381MO
                                                   Attorney for Plaintiffs



                               CERTIFICATE OF SERVICE

        I hereby certify that on September 27, 2021, the foregoing was filed electronically with
the Clerk of the Court and a copy was mailed by the United States Postal Service to the
following non-participant in Electronic Case Filing: Mr. David’s Carpet Service, 865 West
Irving Park Road, Itasca, IL 60143.

                                                           /s/ Greg A. Campbell
